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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                         )
JULIA DURBECK, individually              )
and on behalf of all others              )
similarly situated,                      )
                                         )
                      Plaintiff,         )
                                         )
               v.                        )         CIVIL ACTION
                                         )         NO. 20-10985-WGY
SUFFOLK UNIVERSITY,                      )
                                         )
                      Defendant.         )
                                         )
                                         )
MARY ANN FOTI and ANNA FRANCESCA         )
FOTI, individually and on behalf         )
of all others similarly situated,        )
                                         )
                      Plaintiffs,        )
                                         )
               v.                        )         CIVIL ACTION
                                         )         NO. 20-11581-WGY
SUFFOLK UNIVERSITY,                      )
                                         )
                      Defendant.         )
                                         )


YOUNG, D.J.                                              June 23, 2021

                         MEMORANDUM & ORDER

I.   INTRODUCTION

     Earlier this year, this Court had occasion to recognize a

few of the consequences of COVID-19 in Massachusetts.         See

generally Delaney v. Baker, Civil Action No. 20-11154-WGY, 2021

WL 42340 (D. Mass. Jan. 6, 2021).        This matter involves another:




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defendant Suffolk University’s (“Suffolk”) mid-semester

transition to an entirely virtual experience.

    In two putative class actions, Julia Durbeck, Mary Ann

Foti, and Anna Francesca Foti (collectively, the “Plaintiffs”)

bring breach of contract and unjust enrichment claims against

Suffolk based on its decision to close its campus and transition

to online learning in the wake of COVID-19.        Pending before the

Court are Suffolk’s motions to dismiss for failure to state a

claim upon which relief can be granted.        For the reasons

elucidated below, the motions are DENIED.

    A.    Factual Background

    The Plaintiffs allege that Suffolk offers two types of

degree programs: “in-person, hands-on programs” and “fully

online distance-learning programs.”        Pl.’s Am. Class Action

Compl. & Demand Jury Trial (“Durbeck’s Am. Compl.”) ¶ 21, ECF

No. 20 (Civil Action No. 20-10985-WGY); First Am. Class Action

Compl. & Demand Jury Trial (“Fotis’ Am. Compl.”) ¶ 27, ECF No. 6

(Civil Action No. 20-11581-WGY).        Suffolk allegedly charges more

for the in-person option than for the online option.        Durbeck’s

Am. Compl. ¶ 26; Fotis’ Am. Compl. ¶ 31.        According to the

Plaintiffs, that is because the in-person option involves more

than the “basic academic instruction” included in the online

option.   Durbeck’s Am. Compl. ¶ 28; Fotis’ Am. Compl. ¶ 12.

Specifically, the Plaintiffs plead that in exchange for the


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higher cost of attendance, Suffolk “promised” to provide

benefits and services unique to the in-person option, including

corporeal interactions with faculty, peers, academic and

athletic facilities, affinity and extracurricular groups, and

hands-on experiential opportunities, for the entire spring 2020

semester.    Durbeck’s Am. Compl. ¶¶ 28-30; Fotis’ Am. Compl.

¶¶ 12, 72.   Based on these alleged benefits and services, the

Plaintiffs opted for the in-person experience and paid fees and

a higher tuition rate to enroll as undergraduate students for

the spring 2020 semester.    Durbeck’s Am. Compl. ¶¶ 12, 18, 32-

41, 120; Fotis’ Am. Compl. ¶¶ 10, 19, 46-50, 68.

    The Plaintiffs do not assert that a written contract

provided for these benefits and services.       See Durbeck’s Am.

Compl. ¶ 72; Fotis’ Am. Compl. ¶ 25.      Instead, the Plaintiffs

allege that “[t]he terms of this contract are as implied or set

forth by [Suffolk] through its website, academic catalogs,

student handbooks, marketing materials and other circulars,

bulletins, and publications.”     Durbeck’s Am. Compl. ¶ 72; Fotis’

Am. Compl. ¶ 26 (“The contractual relationship between Suffolk

and Plaintiffs and Class members is based on various written

materials, including, without limitation, course descriptions,

academic catalogs, student handbooks, account statements,

emails, representations and statements made by Suffolk through

various media, including its website, and other materials.”).


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    Specifically, Durbeck quotes a series of Suffolk’s

“publications with respect to non-online classes,” which

describe “the on-campus experience, including numerous

references to student activities; campus amenities; class size

and student/teacher ratios; campus diversity, campus location,

and the like.”   Durbeck’s Am. Compl. ¶ 80; see id. ¶¶ 75-110.

For their part, the Fotis quote a series of Suffolk’s statements

with respect to “its on-campus experience,” including:

“Distinguished [f]aculty provide individual attention to their

students in small classes while encouraging open, independent

thinking and an appreciation of diverse cultures, perspectives

and peoples”; “Students find many opportunities to combine their

academic experience with hands-on experience through

internships, service learning and a broad range of

extracurricular activities”; “Days, night and weekends --

Suffolk students are part of an immersive living and learning

experience in the heart of an international city”; “change your

perspective and deepen your knowledge as you learn in our

classrooms and at the city’s top employers.       A world of academic

possibilities awaits at the College, all just steps away from

everything that makes Boston the ideal place to learn and live”;

“The Suffolk University campus is located right in the heart of

downtown Boston and brings one-of-a-kind city experiences into

the classroom”; and “Since 1906, Suffolk University has been


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woven into Boston’s thriving urban landscape, offering a truly

immersive environment in which to live, learn and explore.            It’s

the ideal location for Suffolk to provide students with the keys

to successful lives and careers; access, opportunity and

experience.”   Fotis’ Am. Compl. ¶ 33 (footnotes omitted).        The

Plaintiffs allege that the implied-in-fact contract also derives

from their payment of fees and tuition, Durbeck’s Am. Compl.

¶¶ 71, 150; Fotis’ Am. Compl. ¶¶ 24, 46, 64, 70, and their

registration for and attendance at on-campus classes, Durbeck’s

Am. Compl. ¶¶ 111-117; Fotis’ Am. Compl. ¶¶ 29, 68-69.

    In March 2020, approximately halfway through the spring

2020 semester, see Durbeck’s Am. Compl. ¶¶ 43-44; Fotis’ Am.

Compl. ¶ 20, Suffolk asked its students (including those who,

like the Plaintiffs, had already paid fees and tuition for the

entire spring 2020 semester) not to return to campus after

spring break, Durbeck’s Am. Compl. ¶ 46; Fotis’ Am. Compl. ¶ 34.

Suffolk subsequently closed all on-campus facilities, suspended

all in-person services and activities, and moved all classes to

virtual platforms.   Durbeck’s Am. Compl. ¶¶ 46-49; Fotis’ Am.

Compl. ¶¶ 34-36.

    Around the same time, Suffolk announced, “Because students

will be receiving academic credit and grades for virtual classes

and will have access to support and guidance from both faculty

and staff, no refunds of tuition will be made.”        Durbeck’s Am.


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Compl. ¶ 51; Fotis’ Am. Compl. ¶ 7.         Suffolk has not refunded

the Plaintiffs’ fees or tuition for the spring 2020 semester.

Durbeck’s Am. Compl. ¶¶ 51, 54; Fotis’ Am. Compl. ¶ 7.

    B.      Procedural History

    Durbeck and the Fotis filed the operative complaints on

October 1, 2020 and October 23, 2020, respectively.           Durbeck’s

Am. Compl.; Fotis’ Am. Compl.        Suffolk moved to dismiss these

complaints on October 29, 2020 and November 18, 2020,

respectively. Def. Suffolk University’s Mot. Dismiss, ECF No. 25

(Civil Action No. 20-10985-WGY); Def. Suffolk University’s Mot.

Dismiss First Am. Compl., ECF No. 16 (Civil Action No. 20-11581-

WGY).

    The parties have fully briefed both motions.            As to

Durbeck, Civil Action No. 20-10985-WGY, see generally Def.’s Am.

Mem. Law Supp. Its Mot. Dismiss Am. Compl. (“Def.’s Mem. Supp.

Mot. Dismiss Durbeck”), ECF No. 29; Pl.’s Mem. Opp’n Def.’s Mot.

Dismiss Am. Compl. (“Durbeck’s Opp’n”), ECF No. 27; Reply Mem.

Supp. Def.’s Mot. Dismiss Am. Class Action Compl. (“Def.’s Reply

Supp. Mot. Dismiss Durbeck”), ECF No. 41.          As to the Fotis,

Civil Action No. 20-11581-WGY, see generally Def.’s Mem. Law

Supp. Mot. Dismiss First Am. Compl. (“Def.’s Mem. Supp. Mot.

Dismiss Fotis”), ECF No. 17; Pl.’s Opp’n Def.’s Mot. Dismiss

(“Fotis’ Opp’n”), ECF No. 19; Reply Mem. Supp. Def.’s Mot.

Dismiss Consolidated Compl. (“Def.’s Reply Supp. Mot. Dismiss


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Fotis”), ECF No. 28.    The parties later filed notices of

supplemental authority.

      This Court heard argument on February 2, 2021 and took the

matter under advisement.     See Elec. Clerk’s Notes, ECF No. 49

(Civil Action No. 20-10985-WGY); Elec. Clerk’s Notes, ECF No. 35

(Civil Action No. 20-11581-WGY).

II.   ANALYSIS

      To withstand a motion to dismiss, a complaint must “state a

claim upon which relief can be granted.”        Fed. R. Civ. P.

12(b)(6).   The complaint must include sufficient factual

allegations which, when accepted as true, “state a claim to

relief that is plausible on its face.”       Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007).       The Court will “draw every

reasonable inference” in favor of the plaintiff, Berezin v.

Regency Sav. Bank, 234 F.3d 68, 70 (1st Cir. 2000), but it will

disregard statements that “merely offer legal conclusions

couched as fact or threadbare recitals of the elements of a

cause of action,” Ocasio-Hernández v. Fortuño-Burset, 640 F.3d

1, 12 (1st Cir. 2011) (alterations and quotations omitted).

      Suffolk moves to dismiss on two grounds.       First, Suffolk

asserts that the Plaintiffs impermissibly seek to recover for

educational malpractice and invade Suffolk’s academic freedom.

Second, Suffolk argues that the Plaintiffs fail to state a claim




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for breach of contract or unjust enrichment.       This Court is not

persuaded by either contention.

    A.   Educational Malpractice

    Claims for educational malpractice challenge “the

sufficiency or quality of education provided by educational

intuitions.”   Zagoria v. N.Y. Univ., 20 Civ. 3610(GBD)(SLC),

2021 WL 1026511, at *2 (S.D.N.Y. Mar. 17, 2021).        Despite “the

number of institutions of higher learning in the Commonwealth,

Massachusetts’ position regarding the viability of educational

malpractice claims is unclear.”     Moran v. Stonehill Coll., Inc.,

2077CV00431, 2021 WL 965754, at *3 (Mass. Super. Ct. Feb. 16,

2021) (Howe, J.); see Doe v. Town of Framingham, 965 F. Supp.

226, 229-30 (D. Mass. 1997) (O’Toole, J.) (stating that “there

is no need to construct what is likely to be a redundant and

clumsy common law remedy” for “educational malpractice”).         The

Plaintiffs concede that educational malpractice claims are not

viable in most jurisdictions.     Durbeck’s Opp’n 6-7.     See Ambrose

v. N.E. Ass’n of Schs. & Colls., Inc., 252 F.3d 488, 499 (1st

Cir. 2001) (applying Maine law) (“[C]ourts consistently have

rejected students’ claims of ‘educational malpractice’ against

schools.”).    Hence as “master to decide what law [they] will

rely upon,” see The Fair v. Kohler Die & Specialty Co., 228 U.S.

22, 25 (1913), the Plaintiffs have chosen not to pursue

educational malpractice claims.     Durbeck’s Am. Compl. ¶ 122


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(“This cause of action does not seek to allege ‘educational

malpractice.’”).

    Nevertheless, this Court must ensure that the Plaintiffs’

claims are not merely “cloak[ed]” with “creative labeling.”           See

Ambrose, 252 F.3d at 497.    However styled, educational

malpractice claims raise a multitude of “strong policy arguments

that militate against” their adjudication.       Id. at 499.    “These

policy concerns include the lack of a satisfactory standard of

care by which to evaluate educators’ professional judgments and

the patent undesirability of having courts attempt to assess the

efficacy of the operations of academic institutions.”          Id.

    It is axiomatic that “the educational malpractice doctrine

does not foreclose all lawsuits by students.”       Zagoria, 2021 WL

1026511, at *3; see Grant v. Chapman Univ., No. 30-2020-

01146699-CU-BC-CXC, 2021 WL 684581, at *3 (Cal. Super. Ct. Jan.

22, 2021) (in COVID-19 tuition refund dispute, stating that

“just because a claim touches on educational issues does not

mean it sounds in ‘educational malpractice’”); Smith v. Ohio

State Univ., No. 2020-00321JD, 2020 WL 5694224, at *2 (Ohio Ct.

Cl. Sept. 09, 2020) (in COVID-19 tuition refund dispute, stating

that “[t]he mere mention of possible consequences to plaintiff’s

educational or professional future does not render plaintiff’s

complaint a claim for educational malpractice”); e.g., White v.

Fessenden Sch., Civil Action No. 07-10908-JLT, 2007 WL 9798267,


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at *3 (D. Mass. July 17, 2007) (Tauro, J.) (rejecting defendant-

school’s characterization of student’s claims as alleging

“educational malpractice”).     Breach of contract claims, for

instance, do not allege educational malpractice where the

“essence” of the plaintiff’s claims is not “that the institution

failed to perform adequately a promised educational service, but

rather that it failed to perform that service at all.”         Ross v.

Creighton Univ., 957 F.2d 410, 417 (7th Cir. 1992); see Zagoria,

2021 WL 1026511, at *3 (“When the essence of the complaint moves

beyond the effectiveness of education and into more specific

promises for specified services, a student may be able to sue

for breach of contract.”).

    Adopting this reasoning, courts across the country have

rejected defendant-schools’ educational malpractice arguments on

motions to dismiss in nearly every COVID-19 tuition refund

dispute.   The most relevant of these decisions apply

Massachusetts law.    This Court is aware of eight such decisions.

    In six federal actions, Boston College, Boston University,

Brandeis University, Harvard College, and Northeastern

University advanced educational malpractice arguments which were

substantially similar to those presently advanced by Suffolk.

Compare Def.’s Mem. Supp. Its Mot. Dismiss Am. Compl. Rules

12(b)(1) & 12(b)(6) 7-9, ECF No. 26, Rodrigues v. Bos. Coll.,

Civil Action No. 20-11662-RWZ (D. Mass. filed Feb. 1, 2021), and


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Def.’s Mem. Supp. Def.’s Mot. Dismiss Second Consolidated Class

Action Compl. 7-11, ECF No. 56, In re Bos. Univ. COVID-19 Refund

Litig., Civil Action No. 20-10827-RGS (D. Mass. filed Dec. 9,

2020), and Def.’s Mem. Law Supp. Mot. Dismiss Consolidated Class

Action Compl. 5-8, ECF No. 22, Omori v. Brandeis Univ., Civil

Action No. 20-11021-NMG (D. Mass. filed Nov. 27, 2020), and

Def.’s Mem. Supp. Its Mot. Dismiss First Am. Consolidated Compl.

8-10, ECF No. 34, Barkhordar v. President & Fellows of Harvard

Coll., Civil Action No. 20-cv-10968-IT (D. Mass. filed Oct. 7,

2020), and Def.’s Mem. Supp. Mot. Dismiss Second Am. Class

Action Compl. 25-27, ECF No. 52, Bahrani v. Ne. Univ., Civil

Action No. 20-10946-RGS (D. Mass. filed Dec. 9, 2020), and

Def.’s Mem. Law Supp. Mot. Dismiss Third Am. Class Action Compl.

24-25, ECF No. 44, Chong v. Ne. Univ., Civil Action No. 20-

10844-RGS (D. Mass. filed Oct. 27, 2020), with Def.’s Mem. Supp.

Mot. Dismiss Durbeck 5-10, and Def.’s Mem. Supp. Mot. Dismiss

Fotis 6-11.   Other sessions of this Court rejected these

advances.   See Rodrigues v. Bos. Coll., Civil Action No. 20-

11662-RWZ, 2021 WL 1439784, at *1 (D. Mass. Apr. 15, 2021)

(Zobel, J.); In re Bos. Univ. COVID-19 Refund Litig., Civil

Action No. 20-10827-RGS, 2021 WL 66443, at *2 n.5 (D. Mass. Jan.

7, 2021) (Stearns, J.) (“The court is not convinced that

plaintiffs’ contract claim is a disguised educational

malpractice claim, as [the university] implies.        The [complaint]


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appears to challenge the fact of the switch from in-person to

online instruction, not the quality of the online education [the

university] provided.”); Barkhordar v. President & Fellows of

Harvard Coll., Civil Action No. 20-cv-10968-IT, 2021 WL 2535512,

at *3 (D. Mass. June 21, 2021) (Talwani, J.) (same); Bahrani v.

Ne. Univ., Civil Action No. 20-10946-RGS, 2020 WL 7774292, at *2

n.1 (D. Mass. Dec. 30, 2020) (Stearns, J.) (same); Chong v. Ne.

Univ., Civil Action No. 20-10844-RGS, 2020 WL 7338499, at *2 n.1

(D. Mass. Dec. 14, 2020) (Stearns, J.) (same); Omori v. Brandeis

Univ., Civil Action No. 20-11021-NMG, 2021 WL 1408115, at *2 (D.

Mass. Apr. 13, 2021) (Gorton, J.) (“The complaint challenges

neither the substance nor the quality of the specific online

courses or curriculum provided by Brandeis.       Moreover,

plaintiffs do not complain that the online education provided by

Brandeis was ineffective, or that they were unable to learn the

relevant subject matter or earn academic credits.        Instead,

plaintiffs seek the reimbursement for services for which they

purportedly bargained and paid, i.e. in-person instruction and

access to on-campus facilities.      Such claims sound in contract,

not educational malpractice, and are therefore justiciable.”

(citations omitted)).

    In the two other decisions applying Massachusetts law, the

Massachusetts Superior Court rejected Stonehill College’s and

the University of Massachusetts’ educational malpractice


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arguments.   See Moran, 2021 WL 965754, at *3 (“Moran does not

challenge the judgment or conduct of his son’s educators, or

Stonehill’s right to academic freedom and the discretion to

operate its educational programs without unwarranted judicial

intervention.    He does not challenge the substance of

Stonehill’s educational programming in a way that implicates

First Amendment concerns.     In addition, Moran does not challenge

the necessity of the closure of Stonehill’s campus due to the

pandemic.    The question raised by the First Amended Complaint is

not whether Stonehill was justified in closing its campus, but

rather where that risk and financial burden should be

contractually allocated.”); Holmes v. Univ. of Mass., No.

2084CV01025-B, 2021 WL 1099323, at *2 & n.3 (Mass. Super. Ct.

Mar. 8, 2021) (Roach, J.) (agreeing “with the many courts who

have considered this question, locally and farther afield, that

the sorts of claims pleaded here are not claims for ‘educational

malpractice,’” and stating that under Massachusetts law, “an

implied contract based on different facets of the parties’

relationship would not be making new law or wading into the

question of how the University teaches its students”) (brackets

and quotations omitted)).

    Setting aside, for a moment, the issue of damages, the

Plaintiffs’ theory of liability is clear: they allege that

Suffolk promised one thing -- an in-person experience for the


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entire spring 2020 semester -- but delivered another.         Durbeck’s

Am. Compl. ¶¶ 28-30, 51, 54; Fotis’ Am. Compl. ¶¶ 7, 24, 37.

Thus the “essence” of this action is not that Suffolk “failed to

perform adequately a promised educational service” when it

delivered a virtual experience, but rather that Suffolk failed

to deliver the promised in-person experience entirely in the

second half of the spring 2020 semester.       See Ross, 957 F.2d at

417; see also Spiegel v. Trs. of Ind. Univ., No. 53C06-2005-CT-

000771, 2020 WL 7135320, at *2 (Ind. Cir. Ct. Nov. 19, 2020) (in

COVID-19 tuition refund dispute, stating that “[t]he essence of

Plaintiff’s claims is that he contracted for in-person classes

and certain services, which he never received and for which he

paid a premium.   This does not challenge the quality of the

education, but the actual product and service delivered”).             This

Court concludes, therefore, that the Plaintiffs’ claims are not

merely “cloak[ed]” with “creative labeling.”        See Ambrose, 252

F.3d at 497; see also Smith, 2020 WL 5694224, at *2 (in COVID-19

tuition refund dispute, rejecting defendant-school’s educational

malpractice argument because “[t]he essence of plaintiff’s

breach of contract claim is that she contracted for in-person

classes and received online classes instead”); Milanov v. Univ.

of Mich., No. 20-000056-MK, 2020 WL 7135331, at *3 (Mich. Ct.

Cl. July 27, 2020) (in COVID-19 tuition refund dispute,

rejecting defendant-school’s educational malpractice argument


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because the plaintiffs alleged “that the university promised one

method of instruction, charged tuition and fees commensurate

with that method of instruction, yet provided a different

(allegedly lesser) method of instruction”).

    The issue of damages, however, gives this Court pause.             See

In re Bos. Univ. COVID-19 Refund Litig., 2021 WL 66443, at *2

n.5 (in COVID-19 tuition refund dispute, recognizing that “it is

possible that the measure of damages for this alleged breach

will so inextricably implicate the issue of quality as to render

the claim non-actionable”); Bahrani, 2020 WL 7774292, at *2 n.1

(same); Chong, 2020 WL 7338499, at *2 n.1 (same).        Suffolk

points out that according to the Plaintiffs, the transition to

an entirely virtual experience “was not commensurate with in-

person instruction,” Def.’s Mem. Supp. Mot. Dismiss Durbeck 6

(quoting Durbeck’s Am. Compl. ¶ 53), and was “subpar in

practically every aspect,” Def.’s Mem. Supp. Mot. Dismiss Fotis

7 (quoting Fotis’ Am. Compl. ¶ 6).       At oral argument, Suffolk

contended that the Plaintiffs seek damages equal to the

difference between “the fair market value of online

learning versus the fair market value of live in-person

instruction.”    Transcript 6, ECF No. 51 (citing Durbeck’s Am.

Compl. ¶ 128).   Taken together, Suffolk asserts, these facts

uncloak the Plaintiffs’ claims as alleging educational

malpractice.    Def.’s Reply Supp. Mot. Dismiss Fotis 5 (“By their


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very nature, these claims require the Court to inject itself

into university decision-making as to how to respond to a

pandemic and to undertake a qualitative evaluation of Suffolk’s

educational program to determine whether each remote class

offered the same ‘value’ as its in-person counterpart.”).          At

least two courts have agreed with this argument, though neither

applied Massachusetts law.     See Gociman v. Loyola Univ. of Chi.,

Case No. 20 C 3116, 2021 WL 243573, at *3 (N.D. Ill. Jan. 25,

2021) (applying Illinois law); Lindner v. Occidental Coll., Case

No. CV 20-8481-JFW(RAOx), 2020 WL 7350212, at *7 (C.D. Cal. Dec.

11, 2020) (applying California law).      But see McCarthy v. Loyola

Marymount Univ., Case No.: 20-cv-04668-SB (JEMx), 2021 WL

268242, at *3 n.2 (C.D. Cal. Jan. 8, 2021) (stating that “the

discussion about the educational malpractice doctrine in

[Lindner v. Occidental College] appears to be dicta”).

    At this stage, the Court is unconvinced.         As an initial

matter, the calculation of market damages does not necessarily

run afoul of the educational malpractice doctrine.         See Bergeron

v. Rochester Inst. of Tech., 20-CV-6283 (CJS), 2020 WL 7486682,

at *8 & n.7 (W.D.N.Y. Dec. 18, 2020) (in COVID-19 tuition refund

dispute, rejecting defendant-school’s argument that plaintiffs’

“alleged damages would require the Court to speculate about the

difference between the subjective value of distance learning and

the subjective value of on-campus, in-person instruction,” and


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ruling that the calculation of “the difference in the fair

market value of the services and access for which they

contracted, and the services and access which they actually

received” was a “sufficiently specific” formulation of “market

damages” to be proved by objective expert testimony).

Furthermore, although factual development might reveal that the

Plaintiffs’ evidence of damages depends on a qualitative

evaluation of Suffolk’s educational services, see, e.g.,

Durbeck’s Am. Compl. ¶ 53 (alleging that the educational

services delivered were “not commensurate with in-person

instruction”); Fotis’ Am. Compl. ¶ 6 (alleging that the

educational services delivered were “subpar in practically every

aspect”), it might reveal instead that the Plaintiffs’ evidence

of damages depends only on a quantitative calculation of the

difference between, for instance, the cost of attending

Suffolk’s online degree program and the cost of attending

Suffolk’s in-person degree program, see, e.g., Durbeck’s Am.

Compl. ¶ 27 (alleging that Suffolk “charged $1,519 per credit

hour for its on-campus MBA program, and only $1,171 per

identical credit hour online, representing a discount of roughly

23%”); Fotis’ Am. Compl. ¶ 21 (alleging that Suffolk charged

$1,574 per credit hour for “the majority of traditional masters

programs” but $1,213 per credit hour for “all online masters

programs”).   Using Suffolk’s own valuations to calculate


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damages, if that is indeed the Plaintiffs’ tack, might require

only basic arithmetic rather than subjective determinations of

educational quality.

    Against this backdrop, dismissal would be premature.           See

Hassan v. Fordham Univ., No. 20-CV-3265 (KMW), 2021 WL 293255,

at *3-4 (S.D.N.Y. Jan. 28, 2021) (in COVID-19 tuition refund

dispute, rejecting defendant-school’s educational malpractice

argument because allegations that the benefits and services

delivered were “subpar in practically every aspect” and “in no

way the equivalent of an in-person education” primarily

“impact[ed] the damages element” rather than “formed the essence

of the Complaint” (quotations omitted)); Saroya v. Univ. of the

Pac., Case No. 20-cv-03196-EJD, 2020 WL 7013598, at *3-4 (N.D.

Cal. Nov. 27, 2020) (similar); Metzner v. Quinnipiac Univ., Case

No. 20-cv-00784 (KAD), 2021 WL 1146922, at *8 (D. Conn. Mar. 25,

2021) (in COVID-19 tuition refund dispute, stating that “if in

the future it becomes manifest that resolving Plaintiffs’ claims

or assessing their damages will ultimately entail evaluation of

whether a course conducted remotely was less valuable than one

conducted in person -- and if so, by how much -- the Court will

reassess whether it should decline to enter the classroom and

determine whether or not the judgments and conduct of

professional educators were deficient” (quotations omitted));

Buschauer v. Columbia Coll. Chi., No. 20 C 3394, 2021 WL


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1293829, at *4 (N.D. Ill. Apr. 6, 2021) (similar); see also

Oyoque v. Depaul Univ., Case No. 20 C 3431, 2021 WL 679231, at

*2 (N.D. Ill. Feb. 21, 2021) (in COVID-19 tuition refund

dispute, recognizing that “[t]o the extent the plaintiffs

discuss the difference in value between in-person and online

education, that discussion is limited to alleging damages from

the defendant’s alleged breach of contract, not an allegation

that any decreased value constitutes the breach of contract”).

The Plaintiffs will have the opportunity to submit evidence of

damages before this Court determines whether their claims would

violate public policy.

    B.    Academic Freedom

    “Academic freedom, though not a specifically enumerated

constitutional right, long has been viewed as a special concern

of the First Amendment.”     Regents of the Univ. of Cal. v. Bakke,

438 U.S. 265, 312 (1978).     Universities thus “occupy a special

niche in our constitutional tradition” which protects their

freedom “to make [their] own judgments as to education . . . .”

Grutter v. Bollinger, 539 U.S. 306, 329 (2003) (quoting Bakke,

438 U.S. at 312).   The “four essential freedoms” are “to

determine for itself on academic grounds who may teach, what may

be taught, how it shall be taught, and who may be admitted to

study.”   Bakke, 438 U.S. at 312 (quotations omitted) (quoting

Sweezy v. New Hampshire, 354 U.S. 234, 263 (1957) (Frankfurter,


                                  [19]
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J., concurring)).   Accordingly, “[w]hen judges are asked to

review the substance of a genuinely academic decision . . . they

should show great respect for the faculty’s professional

judgment.”   Regents of the Univ. of Mich. v. Ewing, 474 U.S.

214, 225 & n.11 (1985) (quoting Board of Curators of the Univ.

of Mo. v. Horowitz, 435 U.S. 78, 96 n.6 (1978) (Powell, J.,

concurring)).

    Suffolk argues that “[a] judicial determination that remote

learning is a less effective and less valuable method of

instruction than in-person instruction . . . would

unconstitutionally infringe Suffolk’s academic freedom ‘to

determine what shall be taught and how it shall be taught.’”

Def.’s Mem. Supp. Mot. Dismiss Durbeck 10 (quoting Asociación de

Educación Privada de P.R., Inc. v. García-Padilla, 490 F.3d 1,

19 (1st Cir. 2007)); Def.’s Mem. Supp. Mot. Dismiss Fotis 10

(same).   This argument fails because the Plaintiffs do not seek

such a judicial determination.     As explicated above, the

Plaintiffs seek a judicial determination that remote learning is

different from the in-person instruction allegedly promised

them, not that the former is “less effective and less valuable”

than the latter.    See supra Section II.A.

    Although public policy counsels against judicial intrusion

into certain academic areas, “principles of contract and quasi-

contract are not among those areas.”      Milanov, 2020 WL 7135331,


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at *3.   Thus, “[e]ven with the principle of academic freedom in

mind, this Court may review university actions to ensure they

comply with enforceable contracts made with students.”         Burt v.

Bd. of Trs. of the Univ. of R.I., C.A. No. 20-191-JJM-LDA, 2021

WL 825398, at *4 (D.R.I. Mar. 4, 2021).       This Court rules,

therefore, that the academic freedom doctrine does not bar the

Plaintiffs’ claims.1   See Rhodes v. Embry-Riddle Aeronautical

Univ., Inc., Case No. 20-cv-927-Orl-40EJK, 2021 WL 140708, at *3

(M.D. Fla. Jan. 14, 2021) (“The focus of this case is simply

whether Defendant promised something it later failed to deliver.

To answer that question, the Court need not wade into the

nuances of educational or public health policy, but rather make

an objective assessment of whether Defendant failed to perform




     1 The Court reiterates that it will accord deference to
“genuinely academic decision[s].” See Ewing, 474 U.S. at 225.
Assuming without deciding that Suffolk’s decision to transition
to an entirely virtual experience is of that ilk, but see Patel
v. Univ. of Vt. & State Agric. Coll., Case No. 20-cv-61, 2021 WL
1049980, at *5 (D. Vt. Mar. 15, 2021) (stating that defendant-
school’s decision to shift to online learning was not “made on
academic grounds; it was instead an administrative decision made
to address the exigencies of the COVID-19 pandemic” (quotations
omitted)), the Court leaves for another day its analysis of the
effect, if any, of Governor Baker’s executive orders regarding
COVID-19, see Barkhordar, 2021 WL 2535512, at *1, *6; see also
Seslar v. Trs. of Purdue Univ., No. 79D02-2005-PL-000059, 2021
WL 1235493, at *4 (Ind. Super. Ct. Mar. 8, 2021) (in COVID-19
tuition refund dispute, declining to address defendant-school’s
argument on motion to dismiss “that the Governor’s Executive
Order made providing in-person instruction impossible”).


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on a promise to provide students with in-person instruction and

access to campus facilities.”).

    C.    Breach of Contract

    Suffolk contends that the Plaintiffs fail to state a claim

for breach of contract because they have not identified the

basis for the alleged contractual right to an in-person

experience for the entire spring 2020 semester.        Def.’s Mem.

Supp. Mot. Dismiss Durbeck 10-17; Def.’s Mem. Supp. Mot. Dismiss

Fotis 11-18.    Suffolk further asserts that its Undergraduate

Academic Catalog expressly contemplates and “permits the very

actions Suffolk took.”    Def.’s Mem. Supp. Mot. Dismiss Durbeck

16-17; Def.’s Mem. Supp. Mot. Dismiss Fotis 17-18.         The

Plaintiffs respond that their contractual right to an in-person

experience for the entire spring 2020 semester derives from

representations in Suffolk’s publications, the Plaintiffs’

payment of fees and tuition, and their registration for and

attendance at on-campus classes prior to the campus closure.

Durbeck’s Opp’n 10-16; Fotis’ Opp’n 9-17.       The Plaintiffs also

argue that Suffolk’s Undergraduate Academic Catalog does not bar

their claims.   Durbeck’s Opp’n 16-18; Fotis’ Opp’n 17-18.

          1. The Plaintiffs State a Claim for Breach of Contract.

    The central legal question before the Court is whether the

Plaintiffs adequately allege the existence of an agreement

between the parties for an in-person experience for the entire


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spring 2020 semester.    See Def.’s Mem. Supp. Mot. Dismiss

Durbeck 10-17; Def.’s Mem. Supp. Mot. Dismiss Fotis 11-18.             The

Court answers that question in the affirmative.

    “Under Massachusetts law, the elements of a breach of

contract claim are that there was an agreement between the

parties; the agreement was supported by consideration; the

plaintiff was ready, willing, and able to perform his or her

part of the contract; the defendant committed a breach of the

contract; and the plaintiff suffered harm as a result.”         Squeri

v. Mount Ida Coll., 954 F.3d 56, 71 (1st Cir. 2020) (quotations

omitted).   “[I]n the absence of an express agreement, a contract

implied in fact may be found to exist from the conduct and

relations of the parties.”     Id. (quotations omitted).      The

plaintiff must “state with substantial certainty the facts

showing the existence of the contract and the legal effect

thereof.”   Id. (quotations omitted).

    “The student-college relationship is essentially

contractual in nature.”    Mangla v. Brown Univ., 135 F.3d 80, 83

(1st Cir. 1998).     “Under Massachusetts law, the promise, offer,

or commitment that forms the basis of a valid contract can be

derived from statements in handbooks, policy manuals, brochures,

catalogs, advertisements, and other promotional materials.”

Guckenberger v. Bos. Univ., 974 F. Supp. 106, 150 (D. Mass.

1997) (Saris, J.).    “Where, as here, a private-school student or


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former student sues a school alleging breach of contract, the

standard of reasonable expectation applies,” under which “courts

ask, in interpreting the contractual terms, what meaning the

party making the manifestation, the university, should

reasonably expect the other party, the student, to give it.”

Walker v. President & Fellows of Harvard Coll., 840 F.3d 57, 61–

62 (1st Cir. 2016) (brackets, citations, and quotations omitted)

(applying Massachusetts law); see Rinsky v. Trs. of Bos. Univ.,

Civil Action No. 10cv10779-NG, 2010 WL 5437289, at *11 (D. Mass.

Dec. 27, 2010) (Gertner, J.) (“The promise must, however, be

definite and certain so that the promisor should reasonably

foresee that it will induce reliance.” (quotations omitted)).

     Suffolk’s first contention, that the representations in its

publications are too “vague” and “generalized” to form an

implied-in-fact contract, Def.’s Mem. Supp. Mot. Dismiss Durbeck

12-16; Def.’s Mem. Supp. Mot. Dismiss Fotis 14-17, misses the

mark.2   The implied-in-fact contract alleged here derives not

from these representations standing alone, but from these

representations viewed in context with the Plaintiffs’ payment




     2 Suffolk also points out that the Plaintiffs have not
alleged that they “read” Suffolk’s publications. Def.’s Mem.
Supp. Mot. Dismiss Fotis 16 (citing Elec. Order, ECF No. 48, In
re Bos. Univ. COVID-19 Refund Litig., Civil Action No. 20-10827-
RGS (D. Mass. Nov. 4, 2020) (Stearns, J.)); Def.’s Reply Supp.
Mot. Dismiss Durbeck 11 (same). The Court is not inclined at
this early juncture to dismiss the Plaintiffs on this basis.


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of fees and tuition, Durbeck’s Am. Compl. ¶¶ 71, 150; Fotis’ Am.

Compl. ¶¶ 24, 46, 64, 70, and the Plaintiffs’ registration for

and attendance at on-campus classes prior to the campus closure,

Durbeck’s Am. Compl. ¶¶ 111-117; Fotis’ Am. Compl. ¶¶ 29, 68-69.

Taken together, these alleged bases are not too vague or

generalized to withstand a motion to dismiss.        See Rhodes, 2021

WL 140708, at *5 n.8 (in COVID-19 tuition refund dispute,

rejecting defendant-school’s argument that its representations

were “mere puffery”); Doe v. Emory Univ., CIVIL ACTION FILE NO.

20-CV-2002-TWT, 2021 WL 358391, at *6 (N.D. Ga. Jan. 22, 2021)

(in COVID-19 tuition refund dispute, stating that although

“promotional statements cannot represent an offer to form an

express contract . . . these statements can help define the

scope of any implied contract,” and concluding that when

combined with allegations concerning defendant-school’s

“customary practice and the Plaintiffs’ payment of tuition,” a

plausible implied-in-fact contract had been pled).

    Suffolk’s second suggestion, that the Plaintiffs must

“explain[] why Suffolk should have reasonably expected its

practice of offering in-person instruction would give rise to a

reasonable expectation that it would not change its practices in

response to the COVID-19 pandemic,” Def.’s Reply Supp. Mot.

Dismiss Fotis 11, is unpersuasive.       The Plaintiffs need only

allege, as they have here, that Suffolk should have reasonably


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foreseen, based upon the “conduct and relations of the parties,”

that the Plaintiffs would rely on Suffolk either to continue

providing the promised in-person experience or to cease

providing the promised in-person experience but refund the fees

and tuition paid for that experience.       See Squeri, 954 F.3d at

71 (quotations omitted); Walker, 840 F.3d at 61–62; see also

Verlanga v. Univ. of S.F., No. CGC-20-584829, 2020 WL 7229855,

at *4 (Cal. Super. Ct. Nov. 12, 2020) (in COVID-19 tuition

refund dispute, stating that “[i]t was reasonable for Plaintiffs

to expect when they were billed for the Spring semester that

they would receive the services, including in-person instruction

and lodging in university residence halls, that were allegedly

promised to them”).    “What becomes of that right or that

understanding in the face of a global pandemic is a separate

issue, not appropriately resolved” on a motion to dismiss.             See

Holmes, 2021 WL 1099323, at *3 (quotations omitted).

     Accordingly, drawing all reasonable inferences in their

favor, the Plaintiffs state a plausible claim for breach of an

implied-in-fact contract for an in-person experience for the

entire spring 2020 semester.3     See Doe v. Bradley Univ., Case No.


     3 The Court recognizes that Durbeck’s third count is wholly
premised, and the Fotis’ first count is partially premised, on
the payment of fees. Durbeck’s Am. Compl. ¶¶ 144-157; Fotis’
Am. Compl. ¶¶ 62-76. The Court further recognizes that in two
COVID-19 tuition refund disputes, another session of this Court
probed the nature of the fees at issue, allowing a motion to


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20-1264, 2020 WL 7634159, at *2 (C.D. Ill. Dec. 22, 2020) (in

COVID-19 tuition refund dispute, collecting cases in which

courts denied defendant-schools’ motions to dismiss breach of

contract claims where plaintiffs alleged contracts “for in-

person instruction based on university handbooks, catalogs, and

brochures”); Salerno v. Fla. S. Coll., Case No. 20-cv-1494-

30SPF, 2020 WL 5583522, at *5 (M.D. Fla. Sept. 16, 2020) (in

COVID-19 tuition refund dispute, denying motion to dismiss

because defendant-school’s publications and materials “touted

its many resources and facilities -- all of which were located

on the campus thereby implying in-person participation”).




dismiss as to claims based on fees used to “‘support’ certain
facilities during terms for which those students are enrolled in
classes,” but denying the motion as to claims based on fees used
“to gain admission to any on-campus facility or access to a
given resource.” See Bahrani, 2020 WL 7774292, at *3; Chong,
2020 WL 7338499, at *3-4. In a third COVID-19 tuition refund
dispute, that same session denied a motion to dismiss as to all
fee-based claims, finding “it significant that the descriptions
in this case also refer to specific activities occurring at
specific locations . . . .” In re Bos. Univ. COVID-19 Refund
Litig., 2021 WL 66443, at *3.

     The Massachusetts Superior Court subsequently declined to
conduct such a probing inquiry on a motion to dismiss, stating,
“While I agree that the ‘fee’ claims are more muddled, I am not
prepared at this time to dismiss claims for fees that ‘support’
programs, as distinct from fees that provide facility access.”
Holmes, 2021 WL 1099323, at *3 n.5. This Court likewise
declines to dismiss the Plaintiffs’ fee-based claims at this
stage.


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             2. The Disclaimer Renders any Promise in Suffolk’s
                Online Undergraduate Academic Catalog Illusory.

     Suffolk argues that the following language, printed at the

top of its online Undergraduate Academic Catalog, authorized it

to close all on-campus facilities, suspend all in-person

services and activities, move all classes to online platforms,

and withhold refunds.     Def.’s Mem. Supp. Mot. Dismiss Durbeck

16-17; Def.’s Mem. Supp. Mot. Dismiss Fotis 17-18.

     This catalog is not an agreement or contract between the
     student and Suffolk University or any other party or
     parties and should not be regarded as such. The offerings
     and requirements contained herein are those in effect at
     the time of publication. The University reserves the right
     to change, discontinue, or add academic requirements,
     courses or programs of study at any time. Such changes may
     be made without notice, although every effort will be made
     to provide timely notice to students.

Def.’s Mem. Supp. Mot. Dismiss Durbeck, Ex. A, Undergraduate

Academic Catalog (“Disclaimer”), ECF No. 29-1; Def.’s Mem. Supp.

Mot. Dismiss Fotis, Ex. 1, Undergraduate Academic Catalog, ECF

No. 17-1.4

     This Court disagrees.     Here, the Plaintiffs plead an

implied-in-fact contract for far more than just the “academic

requirements, courses or programs of study” contemplated in the




     4 The Plaintiffs do not lodge a Rule 12(d) objection to the
Disclaimer, which is, in any event, embodied in a “document[]
sufficiently referred to in the complaint[s].” See Squeri, 954
F.3d at 65 (quotations omitted). Durbeck’s Am. Compl. ¶¶ 23,
72, 106 (referring to Suffolk’s “academic catalogs”); Fotis’ Am.
Compl. ¶¶ 25-27, 29, 65 (same).


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Disclaimer, including corporeal interactions with faculty,

peers, academic and athletic facilities, affinity and

extracurricular groups, and hands-on experiential opportunities.

Durbeck’s Am. Compl. ¶¶ 28, 71; Fotis’ Am. Compl. ¶¶ 12, 64.

See Ford v. Rensselaer Polytechnic Inst., 20-CV-470, 2020 WL

7389155, at *6 (N.D.N.Y. Dec. 16, 2020) (in COVID-19 tuition

refund dispute, stating that “what a student expects to receive

in exchange for tuition money covers much more territory than

simply the right to take classes”).       Because “[t]hese

allegations clearly extend beyond coursework to the entirety of

the educational experience. . . .        [T]he scope of the so-called

disclaimer -- if disclaimer it is -- is not broad enough to

extinguish Plaintiffs’ claims.”      See Bergeron, 2020 WL 7486682,

at *7; see also Hiatt v. Brigham Young Univ., Case No. 20-CV-

00100-TS, 2021 WL 66298, at *3 (D. Utah Jan. 7, 2021) (in COVID-

19 tuition refund dispute, declining to decide on motion to

dismiss whether disclaimer in defendant-school’s catalog “bars

Plaintiff’s claims as a matter of law”).

    The Disclaimer does, however, render any promise in

Suffolk’s online Undergraduate Academic Catalog illusory.          In

Jackson v. Action for Boston Community Development, Inc., the

Massachusetts Supreme Judicial Court held that a reservation of

rights which authorizes a unilateral modification of a

document’s terms tends to render any “offer” in the document


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illusory.   See 403 Mass. 8, 14-15 (1988).      In Pacella v. Tufts

University School of Dental Medicine, this Court “adhere[d] to

the teachings of Jackson,” ruling that a college was not bound

by the terms of a student handbook in part because the college

reserved the unilateral right to modify those terms without

notice.    66 F. Supp. 2d 234, 241 (D. Mass. 1999).      Applying

similar reasoning, the United States District Court for the

Southern District of New York held that a disclaimer in an

academic catalog “may excuse the university from a specific

promise that would otherwise be a contractual obligation.”             Deen

v. New Sch. Univ., No. 05 Civ. 7174 KMW, 2007 WL 1032295, at *2

(S.D.N.Y. Mar. 27, 2007) (applying New York law); Keles v. N.Y.

Univ., No. 91 CIV. 7457 (SWK), 1994 WL 119525, at *6 (S.D.N.Y.

Apr. 6, 1994) (same), aff’d, 54 F.3d 766 (2d Cir. 1995).

    This Court rules that under Pacella and Jackson, the

Disclaimer renders any promise in Suffolk’s online Undergraduate

Academic Catalog illusory.     See Pacella, 66 F. Supp. 2d at 241;

Jackson, 403 Mass. at 14-15.     This ruling does not, as Suffolk

suggests, Def.’s Mem. Supp. Mot. Dismiss Durbeck 16-17; Def.’s

Mem. Supp. Mot. Dismiss Fotis 17-18, doom the Plaintiffs’

claims.    Pacella and Jackson counsel the Court to disregard only

the promises allegedly implied in the document where the

Disclaimer lies: Suffolk’s online Undergraduate Academic

Catalog.    See Pacella, 66 F. Supp. 2d at 241; Jackson, 403 Mass.


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at 14-15.    These precedents do not counsel the Court to ignore

other alleged bases for an implied-in-fact contract.         See

Pacella, 66 F. Supp. 2d at 241; Jackson, 403 Mass. at 14-15; see

also Deen, 2007 WL 1032295, at *3-4 (parsing terms of disclaimer

in academic catalog and ruling that it applied to some but not

all of defendant-school’s implied promises); Gally v. Columbia

Univ., 22 F. Supp. 2d 199, 206 n.7 (S.D.N.Y. 1998) (stating that

although defendant-school “could disclaim the existence of a

specific promise through the use of such a disclaimer, it could

not unilaterally disclaim all contractual relations between the

parties” (citation omitted)).     These other bases, as limned

above, are plausibly pled.     See supra Section II.C.1.

    Suffolk analogizes its Disclaimer to the reservation of

rights in Lindner v. Occidental College.       Def.’s Reply Supp.

Mot. Dismiss Durbeck 3, 12-13 (citing 2020 WL 7350212 (applying

California law)); Def.’s Reply Supp. Mot. Dismiss Fotis 1, 8-9

(same).     This analogy is inapposite.   The reservation of rights

in Lindner expressly authorized the defendant-school “to change

fees, modify its services, or change its program should economic

conditions or national emergency make it necessary to do so” and

specified that “fees, tuition, programs, courses, course

content, instructors, and regulations are subject to change

without notice.”     2020 WL 7350212, at *2 (brackets omitted).

Suffolk’s analogy overlooks the precise language authorizing the


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modification of services and costs of attendance as well as the

reservation’s limited applicability to forces majeures, neither

of which is present in Suffolk’s Disclaimer.        See In re Columbia

Tuition Refund Action, No. 20-CV-3208 (JMF), 2021 WL 790638, at

*5 (S.D.N.Y. Feb. 26, 2021) (in COVID-19 tuition refund dispute,

stating that disclaimer in defendant-school’s university catalog

“is significantly narrower in scope” than disclaimer in Lindner

and that it “arguably does not cover the change in instructional

format from in-person to online”); McCarthy, 2021 WL 268242, at

*3 n.2 (in COVID-19 tuition refund dispute, distinguishing

“express contract right” in Lindner from language in defendant-

school’s bulletin authorizing it “to make changes to degree

program requirements, academic and administrative policies and

regulations, financial charges, and course offerings”); see also

Gibson v. Lynn Univ., Inc., CASE NO. 20-CIV-81173-RAR, 2020 WL

7024463, at *3 (S.D. Fla. Nov. 29, 2020) (in COVID-19 tuition

refund dispute, stating that analysis of force majeure clause in

defendant-school’s policies “is more appropriate at the summary

judgment stage” than at the pleading stage).

    The reservation of rights in the other decision on which

Suffolk primarily relies, a contract dispute under Puerto Rico

law, contained similarly precise language authorizing the

modification of costs of attendance and “any other regulations

affecting students . . . .”     See Cuesnongle v. Ramos, 713 F.2d


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881, 885 (1st Cir. 1983) (“The University reserves the right to

revise or change rules, charges, fees, schedules, courses,

requirements for degrees and any other regulations affecting

students whenever considered necessary or desirable.”).

      The Disclaimer’s scope and effect thus delineated,

Suffolk’s motions to dismiss the Plaintiffs’ breach of contract

claims are DENIED.

      D.   Unjust Enrichment

      Suffolk argues that the Plaintiffs fail to state a claim

for unjust enrichment as matter of law because the Plaintiffs

have an adequate remedy at law (i.e., under their breach of

contract theory).    Def.’s Mem. Supp. Mot. Dismiss Durbeck 17-18;

Def.’s Mem. Supp. Mot. Dismiss Fotis 18-19.        Suffolk further

contends that the Plaintiffs fail to plead facts sufficient to

state a claim for unjust enrichment.       Def.’s Mem. Supp. Mot.

Dismiss Durbeck 18-20; Def.’s Mem. Supp. Mot. Dismiss Fotis 19-

20.   The Plaintiffs respond that they do not have an adequate

remedy at law (i.e., that their unjust enrichment claims are

pled in the alternative to their breach of contract claims),

Durbeck’s Opp’n 18-19; Fotis’ Opp’n 18-19, and that they plead

facts sufficient to state a claim for unjust enrichment,

Durbeck’s Opp’n 19-20; Fotis’ Opp’n 20.




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             1. The Plaintiffs’ Unjust Enrichment Claims
                Are Not Barred as Matter of Law.

     A plaintiff “with an adequate remedy at law cannot claim

unjust enrichment.”       Tomasella v. Nestlé USA, Inc., 962 F.3d 60,

82 (1st Cir. 2020) (quotations omitted) (applying Massachusetts

law).     Specifically, “it is the availability of a remedy at law,

not the viability of that remedy, that prohibits a claim for

unjust enrichment.”       Id. at 82-83 (brackets and quotations

omitted).     Nevertheless, because “unjust enrichment serves as an

equitable stopgap for occasional inadequacies in contractual

remedies at law,” Wipro Ltd. v. Analog Devices, Inc., CIVIL

ACTION NO. 19-12063-JGD, 2020 WL 7016868, at *7 (D. Mass. May 7,

2020) (Dein, M.J.) (quotations omitted), “it is accepted

practice to pursue both theories at the pleading stage,” Lass v.

Bank of Am., N.A., 695 F.3d 129, 140 (1st Cir. 2012) (applying

Massachusetts law); see also Vieira v. First Am. Title Ins. Co.,

668 F. Supp. 2d 282, 295 (D. Mass. 2009) (Woodlock, J.) (stating

that Federal Rule of Civil Procedure 8(d) “permits Plaintiffs to

plead alternative and even inconsistent legal theories, such as

breach of contract and unjust enrichment, even if Plaintiffs

only can recover under one of these theories”); Little v. Grand

Canyon Univ., No. CV-20-00795-PHX-SMB, 2021 WL 308940, at *4 (D.

Ariz. Jan. 29, 2021) (in COVID-19 tuition refund dispute,

recognizing that under Federal Rule of Civil Procedure 8(d), “a



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party may plead an unjust enrichment claim in the alternative

even if they are alleging the existence of a contract governing

the dispute”); cf. Kishinevsky v. Bd. of Trs. of Metro. State

Univ. of Denver, No. 20CV31452, 2020 WL 7087313, at *4 (Colo.

Dist. Ct. Nov. 23, 2020) (in COVID-19 tuition refund dispute,

observing that a contrary practice would force the plaintiff “to

argue against himself at the pleading stage”).

       Here, although the Plaintiffs plead claims for both breach

of contract and unjust enrichment, Durbeck’s Am. Compl. ¶¶ 69-

171; Fotis’ Am. Compl. ¶¶ 62-84, they plead these permissibly in

the alternative, Durbeck’s Am. Compl. ¶¶ 131, 160; Fotis’ Am.

Compl. ¶ 78, and Suffolk denies the existence of a contract with

the Plaintiffs, Def.’s Mem. Supp. Mot. Dismiss Durbeck 10-17;

Def.’s Mem. Supp. Mot. Dismiss Fotis 11-18.         The Plaintiffs’

unjust enrichment claims therefore are not barred as matter of

law.   See Lass, 695 F.3d at 140.

            2. The Plaintiffs State a Claim for Unjust Enrichment.

       To state a claim for unjust enrichment under Massachusetts

law, a plaintiff must allege “(1) a benefit conferred upon the

defendant by the plaintiff; (2) an appreciation or knowledge by

the defendant of the benefit; and (3) acceptance or retention by

the defendant of the benefit under the circumstances would be

inequitable without payment for its value.”         Tomasella, 962 F.3d

at 82 (quotations omitted).       Unjustness is “a quality that turns


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on the reasonable expectations of the parties.”           Metropolitan

Life Ins. Co. v. Cotter, 464 Mass. 623, 644 (2013) (quotations

omitted).

    Here, the Plaintiffs state a claim for unjust enrichment.

First, the Plaintiffs allege that they conferred fees and

tuition on Suffolk.       Durbeck’s Am. Compl. ¶¶ 12, 18, 32-41, 120;

Fotis’ Am. Compl. ¶¶ 10, 19, 46-50, 68.          Second, the Plaintiffs

plead that in exchange for the fees and tuition, Suffolk

delivered an in-person experience for the first half of the

spring 2020 semester but a virtual experience for the second

half.     Durbeck’s Am. Compl. ¶¶ 40, 46-49; Fotis’ Am. Compl.

¶¶ 34-37.     Finally, the Plaintiffs allege that based on their

payment of fees and tuition, it was reasonable to expect an in-

person experience for the entire spring 2020 semester, yet

Suffolk failed to deliver that experience.          Durbeck’s Am. Compl.

¶¶ 71, 150; Fotis’ Am. Compl. ¶¶ 24, 46, 64, 70.

    Although Suffolk contends that it was not unjust to retain

the Plaintiffs’ fees and tuition because Suffolk continued to

provide educational instruction toward a degree, Def.’s Mem.

Supp. Mot. Dismiss Durbeck 18-20; Def.’s Mem. Supp. Mot. Dismiss

Fotis 19-20, the Court must draw all reasonable inferences in

the Plaintiffs’ favor, and in so doing it cannot be said as

matter of law that Suffolk’s actions were not unjust under the

circumstances, see Rosado v. Barry Univ. Inc., CASE NO. 20-CV-


                                     [36]
     Case 1:20-cv-11581-WGY Document 60 Filed 06/23/21 Page 37 of 37



21813-JEM, 2020 WL 6438684, at *6 (S.D. Fla. Oct. 30, 2020) (in

COVID-19 tuition refund dispute, recognizing that although

defendant-school “disputes that the retention of the payments

was ‘unjust,’ a motion to dismiss tests the sufficiency of the

pleading, not the merits of the case”).       “[E]ven if [the

Plaintiffs] received a substantial benefit from [their] payments

of tuition and fees, it may still be inequitable for [Suffolk]

to retain their full value.”     See Rhodes, 2021 WL 140708, at *7.

Suffolk’s motions to dismiss the Plaintiffs’ unjust enrichment

claims are DENIED.5

III. CONCLUSION

     For the foregoing reasons, Suffolk’s motions to dismiss,

ECF No. 25 (Civil Action No. 20-10985-WGY) and ECF No. 16 (Civil

Action No. 20-11581-WGY), are DENIED.



SO ORDERED.

                                             /s/ William G. Young
                                             WILLIAM G. YOUNG
                                             DISTRICT JUDGE




     5 The Court recognizes that Durbeck’s fourth count is wholly
premised, and the Fotis’ second count is partially premised, on
the payment of fees. Durbeck’s Am. Compl. ¶¶ 158-171; Fotis’
Am. Compl. ¶¶ 77-84. As explained above, this does not change
the Court’s conclusion. See supra note 3.


                                  [37]
